  AO 435            Case 4:18-cv-02344    Document 33 Filed in TXSD on 10/31/18 FOR
                                  ADMINISTRATIVE OFFICE OF THE UNITED STATES COURTS
                                                                                    Page 1 of 1
                                                                                      COURT USE ONLY
(Rev. 04/18)
                                                                                                                       DUE DATE:
                                                                  TRANSCRIPT ORDER
Please Read Instructions:
1. NAME                                                                              2. PHONE NUMBER                   3. DATE

4.                ADDRESS                                                            5. CITY                           6. STATE        7. ZIP CODE

8. CASE NUMBER                                 9. JUDGE                                                     DATES OF PROCEEDINGS
                                                                                     10. FROM                           11. TO
12. CASE NAME                                                                                              LOCATION OF PROCEEDINGS
                                                                                     13. CITY                           14. STATE
15. ORDER FOR
    APPEAL                                            CRIMINAL                          CRIMINAL JUSTICE ACT               BANKRUPTCY
      NON-APPEAL                                      CIVIL                             IN FORMA PAUPERIS                  OTHER (Specify)

16. TRANSCRIPT REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested)

                   PORTIONS                                      DATE(S)                         PORTION(S)                        DATE(S)
      VOIR DIRE                                                                         TESTIMONY (Specify Witness)
      OPENING STATEMENT (Plaintiff)
      OPENING STATEMENT (Defendant)
      CLOSING ARGUMENT (Plaintiff)                                                      PRE-TRIAL PROCEEDING (Spcy)
      CLOSING ARGUMENT (Defendant)
      OPINION OF COURT
      JURY INSTRUCTIONS                                                                 OTHER (Specify)
      SENTENCING
      BAIL HEARING
                                                                                17. ORDER
                            ORIGINAL                                 ADDITIONAL
 CATEGORY             (Includes Certified Copy to      FIRST COPY                           NO. OF PAGES ESTIMATE                    COSTS
                    Clerk for Records of the Court)
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     REALTIME
                     CERTIFICATION (18. & 19.)
           By signing below, I certify that I will pay all charges                             ESTIMATE TOTAL
                        (deposit plus additional).                                                                     $                     0.00
18. SIGNATURE                                                                        PROCESSED BY

19. DATE                                                                             PHONE NUMBER

TRANSCRIPT TO BE PREPARED BY                                                         COURT ADDRESS



                                                          DATE             BY
ORDER RECEIVED

DEPOSIT PAID                                                                         DEPOSIT PAID

TRANSCRIPT ORDERED                                                                   TOTAL CHARGES                     $                     0.00

TRANSCRIPT RECEIVED                                                                  LESS DEPOSIT                      $                     0.00
ORDERING PARTY NOTIFIED
TO PICK UP TRANSCRIPT                                                                TOTAL REFUNDED

PARTY RECEIVED TRANSCRIPT                                                            TOTAL DUE                         $                     0.00
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